       Case 6:12-cr-00018-JRH Document 1158 Filed 09/30/15 Page 1 of 9




                 UNITED STATES DISTRICT COURT

                 SOUTHERN DISTRICT OF GEORGIA

                         STATESBORO DIVISION
ANTONIO MARQUETTE MANGRAM,                   )



                                             )



      Movant,                                )



                                             )




                                             )     Case No. CV615-022
                                             )              CR6 12-0 18
UNITED STATES OF AMERICA,                    )



                                             )



      Respondent.                            )




                  REPORT AND RECOMMENDATION

      Antonio Mangram, proceeding pro Se, moves to vacate his guilty

plea conviction for possession of cocaine with intent to distribute. Doe.

1098 ; 1 28 U.S.C. § 2255. He claims that his attorney, Ronald Harrison,

failed to (1) file an appeal despite instructions to do so, (2) "fully and

completely explain the plea agreement," and (3) object to the presentence

investigation and plea colloquy. Doe. 1098 at 4-7. He wants his appellate

rights restored, counsel appointed to assist with that appeal, and

resentencing without application of an unspecified Sentencing Guidelines




' All citations are to the criminal docket in CR612-018 unless otherwise indicated,
and all page numbers are those imprinted by the Court's electronic docketing
software.
      Case 6:12-cr-00018-JRH Document 1158 Filed 09/30/15 Page 2 of 9




enhancement.    Id. at 13. Opposing, the government argues that his

motion is untimely by approximately five months. Doe. 1110 at 2-4.

I. BACKGROUND

     Mangram pled guilty (doe. 851) and was sentenced to 92 months'

imprisonment on September 5, 2013. Doe. 835. He failed to file an

appeal within the fourteen days allowed by Fed. R. App. P. 4(b)(1)(A)(i).

He also missed the 30-day window during which late filings may be

excused for good cause. Rule 4(b)(4). Nevertheless, he filed a notice of

appeal on March 3, 2014. Doe. 1005.

     The Eleventh Circuit denied Mangram's motion to substitute

counsel and instead directed Harrison to file a merits brief, or one

pursuant to Anders v. California, 386 U.S. 738 (1967), accompanied by a

motion to withdraw as Mangram's lawyer. Doe. 1046. The government,

as it does here, moved to dismiss the appeal as untimely; the Eleventh

Circuit granted that request and dismissed Mangram's appeal on

October 9, 2014. Doe. 1056. A little more than four months later, he

filed the present § 2255 motion. Doe. 1098 (filed February 26, 2015).




                                    2
       Case 6:12-cr-00018-JRH Document 1158 Filed 09/30/15 Page 3 of 9




II. ANALYSIS

      Mangram argues that he appealed late because Harrison

disregarded his specific instructions to file a direct appeal.' Doc. 1099.

That, says the government, doesn't matter. Even if counsel ignored

Mangram's request outright, he should have, through the exercise of due

diligence, discovered that failure and moved for § 2255 relief long before

2
  Culling that argument from Mangram's brief requires a construction of his claims
more charitable than the "liberal construction" required by law. See Gilbert v.
Daniels, 2015 WL 5063183 at * 1 (11th Cir. Aug. 28, 2015) ("We liberally construe
the pleadings of pro se parties. . . .") (citing Campbell v. Air Jamaica Ltd., 760 F.3d
1165, 1168 (11th Cir. 2014), cert. denied, - U.S. -, 135 S.Ct. 759 (2014)). He
never states that he asked his attorney to file an appeal; rather, he quotes Roe v.
Flores-Ortega, 528 U.S. 470, 477 (2000), and intimates that it applies here. See doc.
1099 at 2. Regardless, as discussed below, his § 2255 motion remains untimely even
if the Court gives his arguments the most charitable gloss possible.

   This, moreover, is not the Court's first brush with a § 2255 movant who claims
that he told his lawyer to file a direct appeal from his conviction, yet none was filed.
See, e.g., Ortega v. United States, 2014 WL 3012657 at * 1 (S.D. Ga. July 2, 2014). To
address these claims, and the costly evidentiary hearings they often generate, the
Court created the Notice of Counsel's Post—Conviction Obligations ("Notice"), a form
that is to be furnished to counsel by the Clerk at sentencing (it evidently wasn't in
this case, see doc. 834). Id. That Notice reminds counsel of the general duty to
"consult" with the client about an appeal by "advising the defendant about the
advantages and disadvantages of taking an appeal, and making a reasonable effort to
discover the defendant's wishes." Flores—Ortega, 528 U.S. at 478. The Notice
requires that both the defendant and counsel execute the form, thus cross-
memorializing their consultation and the defendant's instructions regarding an
appeal.

   In the future, counsel should utilize the Notice, whether or not the Clerk provides
a copy, since it is available on the Court's website.                               See
http ://www.gasd.uscourts.gov/usdcForms.asp.          Doing so will avoid the
aforementioned evidentiary hearing that isn't necessary here only because
Mangram's § 2255 motion is time-barred regardless of whether counsel upheld his
consultation obligations.

                                           3
       Case 6:12-cr-00018-JRH Document 1158 Filed 09/30/15 Page 4 of 9




February 26, 2015. Doe. 1110 at 3. Anticipating his reply brief

argument, the government also insists that he is not entitled to equitable

tolling. Id. at 3-4.

      Mangram's § 2255 motion is time-barred. Because he took no

timely appeal, his September 5, 2013 conviction became final on

September 19, 2013. See Murphy v. United States, 634 F.3d 1303, 1307

(11th Cir. 2011) (judgment of conviction becomes final when the time for

directly appealing expires); Fed. R. App. P. 4(b)(1)(A) (defendants have

14 days post-conviction to file a notice of appeal). Under 28 U.S.C. §

2255(f)(1), he had until September 19, 2014 to file his § 2255 motion, but

waited until February 26, 2015. Doe. 1098 at 13.

      Mangram also fails to show entitlement to equitable tolling.' He

appears to argue that Harrison's alleged over-billing, negligence in not


  Mangram does not argue that the one-year period should measure from any of the
dates contained in § 2255(f)(2)44). Nor could he, since no government action
impeded his appeal, see id. at (f)(2), he relies on rights recognized prior to his
conviction, see id. at (f)(3), and, had he exercised due diligence, he could have
discovered Harrison's alleged failure to appeal any time after the expiration of the 14-
day appeal window. See id. at (f)(4).

'' The one-year limitations period for § 2255 motions

   is subject to equitable tolling, which applies when a petitioner "untimely files
   because of extraordinary circumstances that are both beyond his control and
   unavoidable even with diligence." Steed v. Head, 219 F.3d 1298, 1300 (11th
   Cir. 2000) (quotation marks omitted). Equitable tolling is an "extraordinary

                                           4
       Case 6:12-cr-00018-JRH Document 1158 Filed 09/30/15 Page 5 of 9




filing an appeal, and acceptance of collateral as payment for legal services

somehow excuse his untimely filing. See doc. 1111 at 6. Even accepting

those allegations as true, they provide no excuse since "attorney

negligence, however gross or egregious, does not qualify as an

'extraordinary circumstance' for purposes of equitable tolling." Cadet v.

Fla. Dep't of Corr., 742 F.3d 473, 481 (11th Cir. 2014).

      To the extent Mangram argues that Harrison over-billed in order

to convince Mangram he was working on an appeal and thus conceal his

failure to file, that too falls short. Attorney fraud certainly can

constitute an extraordinary circumstance. See, e.g., Grady v. Jones, 2014

WL 793541 at * 6 (M.D. Ala. Feb. 26, 2014) (non-lawyer holding himself

out as licensed, practicing attorney and subsequently lying to defendant

about pursuing state habeas claims qualified as extraordinary

circumstance for equitable tolling purposes). But that's not what

   remedy" reserved for "rare and exceptional circumstances." Hunter v. Ferrell,
   587 F.3d 1304, 1308 (11th Cir. 2009) (quotation marks omitted). To establish
   entitlement to equitable tolling, a petitioner must prove "(1) that he has been
   pursuing his rights diligently, and (2) that some extraordinary circumstance
   stood in his way and prevented timely filing." Holland v. Florida, 560 U.S.
   631, 649, 130 S.Ct. 2549, 2562, 177 L.Ed.2d 130 (2010) (quotation marks
   omitted). A petitioner must "show a causal connection between the alleged
   extraordinary circumstances and the late filing of the petition." San Martin v.
   McNeil, 633 F.3d 1257, 1267 (11th Cir. 2011).

Gillman v. Sec'y, Fla. Dep't of Corr., 576 F. App'x 940, 943 (11th Cir. 2014).


                                            5
       Case 6:12-cr-00018-JRH Document 1158 Filed 09/30/15 Page 6 of 9




happened here. The documents Mangram submits to prove that

Harrison over-billed date from after Mangram filed his (untimely) appeal

pro Se. Moreover, they show that counsel felt Mangram had no viable

claims on appeal,' not that he was attempting to bill for work on an

appeal. See doc. 1098-1 at 1, 7. They further reveal that the twenty-five

hours of attorney time Mangram thinks Harrison billed to conceal his

failure to file were actually spent addressing post-sentencing issues that

Mangram requested he work on. See id. at 1. Hence, any argument that

counsel defrauded Mangram must fail.

      Nor can Mangram claim that the Eleventh Circuit's pre-dismissal

actions hoodwinked him. Mangram points to correspondence from the

Eleventh Circuit informing him that counsel could file a motion to

reinstate his appeal (it was dismissed for lack of prosecution) as reason to

    On June 4, 2014 Harrison wrote to Mangram, just before filing a motion to
reinstate Mangram's appeal:

   For the record, it is our position that you are aware that you signed an appeal
   waiver freely and voluntarily. The waiver was explained by myself and Judge
   Edenfield. You knew your estimated guideline range and resolved your
   objections by consent after review of the evidence and law. You acknowledged
   this fact in court. Your grievance is because the Bureau of Prisons did not
   allow you in the drug treatment program. Entry is at the sole discretion of the
   Bureau of Prisons even with the recommendation of the sentencing judge. It is
   unfortunate, but it does not validate your grounds for appeal. A brief review of
   the case law by you or your advisors will confirm this fact.

Doe. 1098-1 at 7.
      Case 6:12-cr-00018-JRH Document 1158 Filed 09/30/15 Page 7 of 9




believe "there was no need to file any § 2255 as the appeal would be

reinstated." Doe. 1111 at 4. Such an argument rests on a foundation of

legal ignorance, not a misleading directive from any court, and so cannot

warrant equitable tolling. Compare Spottsville v. Terry, 476 F.3d 1241,

1245-46 (11th Cir. 2007) (petitioner entitled to equitable tolling because

state habeas court instructed him to file his application for a certificate

of probable cause in the wrong court), with Hill v. Jones, 242 F. App'x

633, 636-37 (11th Cir. 2007) (distinguishing Spottsville in denying relief

because the petitioner simply mailed his notice of appeal from the denial

of Rule 32 relief to the wrong court without having been given erroneous

information by a court), cited in Butler v. Estes, 2015 WL 1883846 at * 5

(N.D. Ala. Apr.28, 2015) ("[I]n Butler's case, he alleges only that he was

not told of certain legal rights, not that a court or anyone else

affirmatively told him something wrong."); see also Wakefield v. R.R.

Ret. Bd., 131 F.3d 967, 970 (11th Cir. 1997) (neither a litigant's pro se

status nor ignorance of the law normally warrants equitable tolling).

     At bottom, assuming his allegations regarding Harrison's failure to

file an appeal are true, Mangram should have realized long before

September 19, 2014 (the deadline to file his § 2255 motion) that no


                                     7
       Case 6:12-cr-00018-JRH Document 1158 Filed 09/30/15 Page 8 of 9




appeal was filed and at that point sought habeas relief.'               See Bing v.

United States, 2015 WL 4092699 at * 2 (S.D. Ga. Jul. 6, 2015) (movant

whose attorney allegedly failed to appeal despite instructions that she do

so filed an untimely appeal instead of a § 2255 motion, which was

nevertheless later dismissed as time-barred). He did not, and so his one-

year § 2255 clock struck zero four months ago.

III. CONCLUSION

      Antonio Mangram's § 2255 motion therefore should be DENIED

as untimely. Applying the Certificate of Appealability (COA) standards

set forth in Brown v. United States, 2009 WL 307872 at * 1-2 (S.D. Ga.

Feb. 9, 2009), the Court discerns no COA-worthy issues at this stage of

the litigation, so no COA should issue. 28 U.S.C. § 2253(c)(1). And, as

there are no non-frivolous issues to raise on appeal, an appeal would not

be taken in good faith. Thus, in forma pauperis status on appeal should

likewise be DENIED. 28 U.S.C. § 1915(a)(3).

6
  The Court would reject any plea by Mangram that he in good faith thought an out-
of-time appeal was the proper vehicle to seek relief for Harrison's alleged error
instead of a § 2255 motion, since it would simply be another species of the legal
ignorance argument. See Outler v. United States, 485 F.3d 1273, 1282 n. 4 (11th Cir.
2007) ("[P]ro se litigants, like all others, are deemed to know of the one-year statute
of limitations [for filing § 2255 motions]."); Rivers v. United States, 416 F.3d 1319,
1323 (11th Cir. 2005) (stating that "procedural ignorance [has never been accepted]
as an excuse for prolonged inattention when a statute's clear policy calls for
promptness") (quoting Johnson v. United States, 544 U.S. 295, 311 (2005)).

                                           8
      Case 6:12-cr-00018-JRH Document 1158 Filed 09/30/15 Page 9 of 9




     SO REPORTED AND RECOMMENDED, this                        3Cday of

September, 2015.

                                  UNITED STATES MAGISTRATE JUDGE
                                  SOUTHERN DISTRICT OF GEORGIA
